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August 26, 2022
E-FILED
The Honorable Joshua D. Wolson
United States District Court – Eastern District of Pennsylvania
James A. Byrne United States Courthouse
601 Market Street, Courtroom 3-B
Philadelphia, Pennsylvania 19106

Re:       Eddystone Rail Company, LLC v. Bridger Logistics, LLC, et al.
          Case No. 2:17-cv-00495-JDW

Dear Judge Wolson:

On behalf of Defendants, we write in response to the letter submitted by Plaintiff Eddystone Rail
Company, LLC (“Eddystone”) twice on August 23, 2022 (Dkts. 609, 611) (“Letter”).

Before turning to Defendants’ position on Eddystone’s suggestions for streamlining the trial (many
of which Defendants support), we feel compelled to point out that, contrary to Eddystone’s
statement that Defendants “have declined to join any of [Eddystone’s] proposals,” Eddystone filed
its Letter before Defendants had a chance to respond, and Defendants are actively and
substantively focused on streamlining procedures. Defendants did not receive a proposal from
Eddystone until late afternoon on Friday, August 19, with a demand that Defendants respond by
noon (ET) on Tuesday, August 23. On the morning of Monday, August 22, counsel for Defendants
responded that they would consider and respond to Eddystone’s proposals. Eddystone filed its
Letter the next day, before Defendants had an opportunity to respond. Accordingly, Defendants
submit this response to Eddystone’s Letter although, going forward, Defendants believe that it
would be more efficient and appropriate for the parties to confer regarding proposals to streamline
trial rather than submitting competing letters to the Court.

For ease of review, Defendants’ letter presents Defendants’ commentary in the same order as set
forth in Eddystone’s Letters.

Time Limits.

Defendants respectfully ask the Court to decline to limit the parties to a 15-day trial (two of which
will be abbreviated) with an evenly split trial clock because it would unfairly prejudice Defendants.
That said, Defendants do not oppose the use of a trial clock and agree that it will provide structure
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and certainty for all involved. However, given the breadth of issues in this case, the number of
witnesses identified by each side who may testify live (28 by our count), and the scope of the
record to be submitted to the Court, Defendants believe that 20 days of trial time (including the
two shortened days) may be required and would provide Defendants appropriate, reasonable time
to present its case-in-chief (and counterclaim). Defendants note that Eddystone submitted its
Letter before the Court denied Eddystone’s motions to strike affirmative defenses and seeking to
exclude testimony of various witnesses. (Dkt. 610.) Given Eddystone’s likely assumption that its
motions would prevail, it is not surprising that Eddystone anticipated that it could present its case-
in-chief in 45 hours.

As a threshold issue, Defendants will be as efficient as is possible, but it is still likely that
Defendants may need more time than Eddystone to put on their case. It appears that Eddystone
will present its case using cherry-picked privileged documents and sound-bites from deposition
testimony given, in substantial part, by lower-level (Bridger or Ferrellgas) employees with little to
no personal knowledge of the events at issue. Eddystone chose not to depose certain of
Defendants’ executives who were involved in the events at issue and who do have relevant
personal knowledge.

In contrast, Defendants will present testimony from numerous witnesses, including several former
key executives, including Ferrellgas’ former CEO, CFO, and general counsel (Messrs. Wambold,
Heitmann, and Hampton), none of whom Eddystone deposed, who will appear to explain the
options they were presented, their thinking at the time, and their actions. In addition, due to the
importance of Bank of America’s lien on pledged assets (which arose under contractual
requirements related to a lending arrangement in place since 2009—years before Ferrellgas
acquired Bridger Logistics), Ferrellgas’s outside counsel will testify about the workings of that
lending arrangement and the events in 2015-16 pertaining to Bank of America. These aspects of
the Ferrellgas case-in-chief will be discussed at the Pre-Trial Conference and will inform the
discussion regarding appropriate time limits.

At the April 19 status conference, Defendants estimated that six weeks could be required for the
presentation of evidence in this case. In the parties’ Proposed Pretrial Scheduling Order,
Eddystone proposed at least 18 trial days, while Defendants requested at least 23 days. (Proposed
Pretrial Scheduling Order (5/6/2022) at 1.) The 90-hour, all-in schedule currently proposed by
Eddystone is a significant reduction from either of those proposals (applying Eddystone’s 7-hour
trial day assumption, Eddystone’s 18-day proposal would result in 126 hours of trial time, while
Defendants’ 23-day proposal would result in 161 hours of trial time). From Defendants’
perspective, the issue is whether to reserve, in early 2023, no more than five additional trial days
beyond the 15 already scheduled.

Defendants agree that the Court has discretion to control the trial presentation and impose time
constraints for the presentation of evidence. E.g., Duquesne Light Co. v. Westinghouse Elec.
Corp., 66 F.3d 604, 611 (3d Cir. 1995) (cited and relied on by Eddystone). Defendants add,
however, that The Third Circuit has stated that such time restraints must be “reasonable” and
should not be imposed “as a matter of course.” Duquesne Light, 66 F.3d at 609–10 (“[B]ecause
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by their very nature such procedures can result in courts dispensing with the general practice to
evaluate each piece of offered evidence individually, district courts should not exercise this
discretion as a matter of course.”). Thus, in the Third Circuit, “a district court should impose time
limits only when necessary, after making an informed analysis based on a review of the parties’
proposed witness lists and proffered testimony, as well as their estimates of trial time.” Id. at 610
(acknowledging problems with the district court’s midtrial change to time limits but declining to
reverse because plaintiff-appellant did not show prejudice); see also In re Baldwin, 700 F.3d 122,
129, n.5 (3d Cir. 2012) (warning that the time limit imposed by the district court “may ultimately
be too little time for [defendants] to adequately present their case”) (also relied upon by
Eddystone).

Despite citing Duquesne Light and Baldwin, Eddystone pushes the Court to impose a trial limit
that hinders and prejudices Defendants’ ability to present its defense. Eddystone’s desire to cap
the parties’ presentations at 15 days, and its proposal of an evenly split trial clock, do not account
for the fact that Defendants intend to present far more live testimony than Eddystone. To present
an adequate defense to Eddystone’s claims (and pursue their remaining counterclaim), Defendants
may call on the order of 10 live fact witnesses in its case-in-chief (in addition to conducting
examinations of the 5 witnesses Eddystone will call in its case-in-chief). In contrast, Eddystone
has listed only 6 potential live fact witnesses. In addition, Defendants may need to present as many
as 8 experts (Defendants propose a streamlined examination, detailed below), while Eddystone
estimates that it will call only 4 experts to testify. In short, Defendants have more witnesses than
Eddystone, which will require additional time in the defense case—likely by both sides.

Eddystone makes much of the Court’s familiarity with the record following summary judgment
briefing and the submission of related Daubert motions, but much additional evidence remains to
be presented. This includes new testimony from witnesses who have not been deposed and did
not submit declarations at the summary judgment stage, as indicated above. Moreover,
Eddystone’s only authority on this point is a case where the court dismissed half the claims at
summary judgment and limited trial to 7 hours per side on negligence-related claims arising from
a car accident. Ross v. Parrot’s Landing, Inc., Case No. 1:18-cv-725, 2021 WL 5767142, at *7
(W.D. Mich. Oct. 28, 2021). To state the obvious, that is not this case.

Eddystone also overstates the degree to which the Court’s summary judgment order (Dkt.557) has
narrowed the scope of the case. Defendants’ estimates of trial length already account for the issues
that remain to be resolved by the Court. Although the order resolved some legal issues, numerous
fact disputes remain that will be decided based almost entirely on testimony from Defendants’
witnesses. Such issues include, but are not limited to: (1) whether Defendants’ “internal emails
and witness testimony” establish that they were the alter egos of BTS, including whether the
internal emails establish that Defendants improperly “siphoned funds” or whether the “innocuous
ways to view” such evidence are accurate (Dkt. 557 ¶¶ 8-10, 14; (2) whether Defendants had an
“intent” to “hinder, delay, or defraud” creditors in making asset transfers or otherwise conducting
their business, determined through “fact specific” analysis of several “badges of fraud” and
percipient witness testimony (id. ¶¶ 15-17); (3) whether the Bank of America lien was valid or
“created to defraud a third party” (id. ¶¶ 19-21, 23); and (4) whether certain Defendants
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“dominated the affairs” of BTS to such an extent that they can be considered “control persons”
(id. ¶ 28). Many of these issues, particularly the ones that relate to Defendants’ intent, require the
Court, as the trier of fact, to assess credibility. Defendants should be permitted to present their
former employees as witnesses who can speak to Defendants’ intent (and actions). To foreclose,
or severely limit, Defendants’ ability to call the witnesses necessary to its defense would
significantly prejudice Defendants.

Eddystone argues that courts have imposed tighter time limits in trials involving more witnesses
and historical evidence. But the only Third Circuit case they cite is Baldwin, 700 F.3d at 129, in
which the court denied a writ of mandamus, stating as follows:

       In denying mandamus relief, we emphasize that we are not ruling on the propriety
       of the time-limit order. We appreciate that this is a complex case, that the
       Committee has sued sixteen individual defendants, and that many of the defendants
       may need to testify to present their own defenses, even if some of their testimony
       is duplicative. Because 7.5 hours may ultimately be too little time for the Lemington
       Defendants to adequately present their case, we do not conclude that the time-limit
       order is permissible or valid. We hold only that a post judgment appeal is adequate
       to assure meaningful review of the propriety of the time-limit order.

In a footnote, the Third Circuit cautioned the trial court against imposing unreasonably restrictive
time limits:

       It is also difficult to understand the District Court's rationale in allocating to the
       entire defense side of the case 7.5 hours of evidence presentation time given the
       fact that there may be different liability rules and defenses applicable to defendants
       who were members of the board of directors versus defendants who were officers
       of the non-profit entity. . . . We therefore urge the District Court to re-examine the
       time-limit order to avoid the necessity of a re-trial. We trust that if, at any time, the
       District Court is persuaded that any time limits it has set are not sufficient to allow
       for a fair presentation of the case, the Court will take appropriate steps to see that
       due process is satisfied.

Id. at 129 n.5. The remaining cases Eddystone cites involve class actions and patent cases, which
are very different from a complex commercial case involving questions about nuanced accounting
issues and intent in connection with fraudulent transfer claims, allegations of alter ego liability,
and a breach of fiduciary duty claim requiring the Court to assess Defendants’ conduct.

Defendants are very aware of the value of the Court’s time and have no intention to consume more
than is absolutely necessary to disprove Eddystone’s claims. Defendants have carefully considered
the fact and expert witnesses they will need to present at trial and believe that reserving an
additional week would constitute a more appropriate duration within which to present evidence
from both sides, including any rebuttal evidence, in the event limits are to be imposed now.
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Accordingly, given the issues remaining in the case, and the evidence necessary for Defendants to
adequately present their defenses and counterclaim, Defendants respectfully ask the Court to
decline to impose the arbitrary restriction of a 15-day trial with an evenly split trial clock, which
would unfairly prejudice Defendants.

Examination of Experts.

Defendants understand that the submission of expert reports in lieu of direct testimony would
shorten the examination time for expert witnesses. If this approach is adopted, at least two
precautions should be taken to ensure that the process is fair and the opinions to be offered are
clear.

First, Defendants propose that the parties work together to appropriately redact expert reports such
that they consist of only those portions that would be admissible if the expert were testifying live.
When the experts drafted their reports, they were not intended to be submitted in lieu of direct
testimony. Accordingly, the reports include information that is not appropriate for submission as
evidence from an expert. For example, expert reports include substantial and argumentative
background information, much of which is not necessary for their opinions. The Federal Rules of
Evidence do not permit such information to be admitted as evidence through an expert. See, e.g.,
Fed. Rs. Evid. 602, 702, 802; see also Kia v. Imaging Sci. Int’l, Inc., Civil Action No. 08–5611,
2010 WL 3431745, at *5 (E.D. Pa. Aug. 30, 2010) (quoting Reedy v. CSX Transp., Inc., Civil
Action No. 06-758, 2007 WL 1469047, at *3 (W.D. Pa. 2007)) (explaining that “a party may not
‘filter fact evidence and testimony through [his] expert merely to lend credence to the same’ nor
may expert testimony ‘be used merely to repeat or summarize what the jury independently has the
ability to understand’”) (citations omitted).

Similarly, certain of Eddystone’s expert opinions have been voluntarily limited or withdrawn and
should be redacted. (See Dkt. 561, Order on Defendants’ Motion to Exclude the Testimony of
Neil K. Earnest at ¶ 5 (“The Court adopts the limits on Mr. Earnest’s testimony that Eddystone
concedes in its Opposition.”); Dkt. 508, Eddystone’s Opposition to Defendants’ Motion to Exclude
The Testimony of Marc B. Sherman at 13 (“Eddystone will not call Mr. Sherman to testify on
balance sheet insolvency as of June 2015.”); Dkt. 610, Order at ¶¶ 3-6 (stating that the Court will
exclude inadmissible legal opinions from Professor Rock and Professor Macey).)

Disputes regarding the redaction of expert reports may be raised with the Court prior to the expert’s
testimony.

Second, and assuming appropriate redactions to expert reports, Defendants propose a limited, 1-
hour or less, direct examination of each expert witness (with that amount to be counted against any
trial clock) and submission of the redacted expert report to the Court to complete the direct
examination. Not only will this help orient the Court and the parties before cross examination, it
will also clarify which of the expert’s opinions are primarily being offered by the party. Each
expert report contains a variety of opinions and sub-opinions. A short direct of the expert by the
party offering the expert’s opinions will likely make cross-examination more focused and
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understandable. Here, for example, between the initial report and his deposition, Plaintiff’s
damages expert offered ten different damages calculations (technically, twenty different damages
when a 6% and a 9% prejudgment interest is applied to each calculation). A short direct
examination by Plaintiff will help clarify Plaintiff’s position on damages, and the reason for that
position, allowing for a more focused cross-examination.

Examination of Fact Witnesses.

As Eddystone points out, there are five witnesses that both sides have identified on their respective
witness lists. Defendants agree that these witnesses should be called only once. For any witnesses
called in Eddystone’s case-in-chief, Defendants agree that they will conduct both a direct and
cross-examination, without limiting the scope of the examination to the scope of the direct
examination by Eddystone. Eddystone would then have the opportunity to conduct a cross-
examination/redirect, limited to the scope of Defendants’ direct/cross, followed by redirect from
Defendants, limited to the scope of Eddystone’s cross/redirect.

Preadmission of Exhibits and Evidentiary Objections to Exhibits.

The parties have been actively conferring on exhibits and evidentiary objections to exhibits over
the course of the pre-trial process. During that process, the parties exchanged exhibit lists and
objections, have worked towards deduplicating the exhibits, and are conferring to attempt to
resolve exhibit objections.

Defendants agree that the parties should continue to meet and confer regarding outstanding
objections to exhibits and that resolution of all outstanding objections at the Pre-Trial Conference
is not warranted and would not be efficient. The Court’s August 23, 2022 ruling on pre-trial
motions (Dkt. 610) will impact the ongoing meet and confer process—indeed, since the parties
received that order, Eddystone has indicated that it may withdraw certain objections.

Defendants do not agree that pre-admitting all exhibits for which no objection has been lodged is
efficient or warranted in this case.

First, as Eddystone notes, the parties have collectively identified more than 4,500 exhibits.
Defendants do not believe that all of those exhibits (or even a substantial portion) ultimately will
be offered into evidence or become part of the record. Accordingly, it would be most efficient for
the Court to address objections only for exhibits that are offered into evidence.

Second, because a variety of objections cannot be asserted in the abstract and may depend on the
witness sponsoring the exhibit (e.g., foundation and hearsay), resolution of all objections is not
feasible until the exhibit is offered into evidence, and it would be inefficient to address objections
to an exhibit twice—once prior to trial and once when the exhibit is offered into evidence.
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Defendants propose that, in connection with ongoing meet-and-confer efforts, the parties identify
a subset of exhibits that could jointly be offered into evidence at the start of trial. Defendants
anticipate such documents would include the contracts, accounting records, and records certified
in accordance with Fed. Rs. Evid. 902(11) and (12). Defendants anticipate that evidentiary
objections to email communications will not be resolved prior to trial, as such objections will turn
on a party’s use of those communications during trial. For all exhibits other than the preadmitted
subset, Defendants believe that objections are best resolved when the exhibit is offered into
evidence.

With respect to Eddystone’s proposal that the parties provide the other side with exhibits prior to
a witness’s direct testimony, Defendants agree that such a procedure may assist in streamlining
the trial, if appropriately structured and adhered to by the parties. Eddystone’s proposal that the
parties exchange exhibit lists and objections to that list during a two-hour span the night before a
witness takes the stand is unworkable. Instead, Defendants propose that the party offering a
witness on direct examination identify the exhibits reasonably anticipated to be used in that direct
by 8:00 pm (ET) two days prior to the date the witness takes the stand (which comports with the
parties’ existing obligation to identify witnesses 48 hours in advance of their testimony). The other
party may then have until 8:00 pm (ET) the following day to withdraw or confirm any objections
(excluding those that require context to assert such as hearsay and foundation). The parties could
then address objections to all exhibits as they are offered into evidence during the direct testimony
or before the witness takes the stand, whichever the Court prefers.

Defendants agree that, after the close of all evidence, the parties will jointly provide the Court with
a final admitted exhibit list and a hard drive with only the admitted exhibits.

Evidentiary Objections to Deposition Testimony and Admission.

Defendants agree that the parties should be afforded additional time to meet and confer regarding
deposition designation testimony, and that resolution of the objections to such testimony at the
Pre-Trial Conference is not warranted and would not be efficient.

Defendants agree that no depositions shall be played or read in open court. Defendants propose
that each side submit its designated testimony at the conclusion of its case-in-chief, at which point
the Court may resolve all outstanding objections to that testimony. Defendants expect that
Eddystone will not rest its case-in-chief during the September trial week. As a result, the parties
will work together to resolve objections while trial is in recess through the Fall, prior to
Eddystone’s submission of its deposition designations to the Court in December. This process
will also allow Defendants the opportunity to further limit the deposition testimony they offer to
the content necessary to rebut Eddystone’s case-in-chief.

In accordance with the Court’s May 10 Order (Dkt. 577), the parties shall submit to the Court
deposition transcripts showing only the designated testimony and highlighting the lines on which
there is an unresolved objection. Once objections are resolved, the parties will revise the
deposition designations in accordance with the rulings, submit a new transcript containing only
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remining designated testimony, and submit edited deposition videos to show only the remaining
designated testimony.

Post-Trial Briefs.

While Defendants defer to the Court as to the format it would find most useful, Defendants expect
that submitting post-trial findings of facts and conclusions of law in numbered paragraphs will
help to marshal the significant evidentiary record in this case and ensure that the parties provide
the Court with all findings, subordinate findings, and conclusions the Court needs to comply with
Federal Rule of Civil Procedure 52.

Federal Rule of Civil Procedure 52 provides: “In an action tried on the facts without a jury or with
an advisory jury, the court must find the facts specially and state its conclusions of law separately.”
“The requirement of Rule 52(a) is not satisfied ‘by the statement of the ultimate fact without the
subordinate factual foundations for it which also must be the subject of specific findings.’” H.
Prang Trucking Co., Inc. v. Loc. Union No. 469, 613 F.2d 1235, 1238 (3d Cir. 1980) (quoting
O'Neill v. United States, 411 F.2d 139 (3d Cir. 1969)). Subordinate facts “may not be left
unarticulated”—“[i]f they actually were reached in the process of arriving at the ultimate factual
conclusion, they must be stated; [i]f they did not enter into the process by which the ultimate
factual finding was made, then it was without any supporting foundation.” Id. On appeal, an
appellate court “may vacate the judgment and remand the case for findings if the trial court has
failed to make findings when they are required or if the findings it has made are not sufficient for
a clear understanding of the basis of the decision.” Id. (remanding for further findings of fact).

Indeed, the Third Circuit recently held:

       Instead of presenting his findings in accord with Rule 52, the trial judge here elected
       to “set forth in narrative fashion [his] findings of fact ... and conclusions of law.”
       Unfortunately, what followed leaves us unable to discern what were his intended
       factual findings. Moreover, in arriving at his particular legal conclusions, the trial
       judge held back making many of the factual findings that would support those
       conclusions, in effect going from first base to third across the pitcher’s mound.
       While we do not endorse or require a panoply of extraneous factual findings, the
       overall dearth of clear factual findings, much less those pertaining to the heart of
       this matter[, . . .] falls below what is required by Rule 52.

       Because we cannot derive a full understanding of the core facts from the District
       Court's opinion, this was a violation of Rule 52 and itself a basis for remand.

In re Frescati Ship. Co., Ltd., 718 F.3d 184, 196–97 (3d Cir. 2013), aff’d sub nom. CITGO Asphalt
Ref. Co. v. Frescati Ship. Co., Ltd, 140 S. Ct. 1081 (2020).
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Defendants will continue to think about ways to streamline the trial and look forward to discussing
these issues with the Court and Eddystone at the August 31 Pre-Trial Conference.
Respectfully Submitted,



Lawrence G. Scarborough



cc:    All Counsel of Record
